              Case 1:22-cv-11624-DJC Document 7 Filed 11/01/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


FESNEL LAFORTUNE,

    vs.                                CASE NO. 1:22−CV−11624−DJC

ANTONE MONIZ,




                                             ORDER

      Denise J. Casper, D.J.


          In accordance with 28 USC §2243, the Clerk of this Court is hereby ordered to
      serve a copy of the Petition for Writ of Habeas Corpus by mailing copies of same to
      the Respondent, the office of the United States Attorney General and the United
      States Attorney.


          It is further ordered that the Respondent shall, within 21 days of receipt of this
      Order, file an answer (or other proper responsive pleading) to the Petition for Writ
      of Habeas Corpus. The answer (or other responsive pleading) must also include a
      statement notifying this Court of the existence of any victim or victims as defined
      by 18 USC §3771.




                                                           /s/ − Denise J. Casper

 Dated: November 1, 2022                              U.S. DISTRICT COURT JUDGE
